                   IN THE UNITED STATES DISTRICT COURT
               IN THE WESTERN DISTRICT OF NORTH CAROLINA
                     CIVIL ACTION NO. 3:16-cv-00875-GCM

 HILDA BATES, AS
 ADMINISTRATOR OF THE ESTATE
 OF NEMAN T. BATES,

       Plaintiff,
                                              BRIEF IN SUPPORT OF THIRD
 v.                                          PARTY DEFENDANT’S MOTION
                                               FOR SUMMARY JUDGMENT
 TIPPMANN SPORTS, LLC, DICK'S
 SPORTING GOODS, INC., AND
 GAYSTON CORPORATION,

       Defendants.

 vs.

 GAYSTON CORPORATION,

       Third-Party Plaintiff,

 v.

 BXD ENTERPRISES, INC.,

       Third-Party Defendant.

       NOW COMES Third-Party Defendant, BXD Enterprises, Inc. (“BXD”), by and

through the undersigned counsel, and submits this Brief in Support of its Motion for

Summary Judgment.




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                NATURE OF THE MATTER BEFORE THE COURT

       This action arises from the death of Neman T. Bates (“Mr. Bates”). On February

2, 2015, Mr. Bates was applying camouflage tape to the exterior of a CO2 paintball

cylinder in his home. While applying the tape, the CO2 cylinder ruptured, which resulted

in the death of Mr. Bates.

       The CO2 cylinder at issue is a 9 ounce cylinder. Screwed into the top of the

cylinder is a pin valve assembly. Screwed into the side of the pin valve assembly is a

burst disk assembly. The burst disk assembly consists of a single copper burst disk or

membrane, which, if the pressure on the burst disk exceeds its tolerance, will burst,

causing a release of the CO2 contained within the cylinder.

       It is undisputed that for this 9 ounce CO2 cylinder to have ruptured, two

conditions must have existed. First, the CO2 cylinder had to be filled above its 9 ounce

capacity (i.e. it was overfilled). Second, the burst disk assembly had to fail to actuate

when presented with an overfill situation. In this case, it is undisputed that the burst disk

assembly failed to actuate due to the presence of two burst disks or membranes contained

within the burst disk assembly.

       While there is a vigorous dispute as to whether the second burst disk or membrane

was present at the time of manufacture or whether it was intentionally added by Mr.

Bates or at his request, there is no dispute that Mr. Bates was the last person to fill, or

more accurately, overfill, the 9 ounce CO2 cylinder prior to the rupture. Therefore, N.C.

Gen. Stat. § 99B-4 and the common law concept of contributory negligence preclude

Plaintiff’s claims against the defendants, including the claims against BXD.


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                   FACTUAL AND PROCEDURAL BACKGROUND

         On December 8, 2014, Mr. Bates purchased two paintball marker kits from Dick’s

Sporting Goods, Inc. (“Dick’s”). See Deposition of Douglas Stipanovich (“Stipanovich

Dep.”) at 94:7-95:4, attached hereto as Exhibit “A”; Doc. 15 at ¶ 11. One of the paintball

marker kits included and Alpha Black Elite Paintball Marker and the 9 ounce cylinder at

issue.   See id.   The cylinder was a Tippmann Sports, LLC (“Tippmann”) branded

cylinder. See Deposition of Dennis Tippmann (“Tippmann Dep.”) at 113:20-114:15,

attached hereto as Exhibit “B”; Doc. 15 at ¶ 11. The cylinder was manufactured by

Gayston Corporation (“Gayston”). See Deposition of Andrew Sheldrick (“Sheldrick

Dep.”) at 20:7-20:18, attached hereto as Exhibit “C”; Doc. 15 at ¶ 11; Doc. 30 at ¶ 8.

Gayston would purchase pin valve assemblies, including burst disk assemblies, from

BXD, which purchased them from a Chinese manufacturer. See Sheldrick Dep. at 21:7-

21:14; Deposition of Gail Selby (“Selby Dep.”) at 38:20-38:25, attached hereto as Exhibit

“D”; Doc. 30 at ¶ 11. Gayston would then assemble the pin valve assemblies into the

cylinders. See Sheldrick Dep. at 20:19-21:3; Deposition of Holly Beck (“Beck Dep.”) at

11:20-12:3, attached hereto as Exhibit “E.”

         The 9 ounce cylinder had warnings printed on its side.       See photograph of

cylinder, attached hereto as Exhibit “F.” Included as warnings were the following:


                                       DANGER

               • IMPROPER USE, FILLING, STORAGE OR DISPOSAL
                 OF THIS CYLINDER MAY RESULT IN DEATH,
                 PERSONAL INJURY AND PROPERTY DAMAGE.



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             • THIS CYLINDER MUST BE FILLED ONLY BY
               PROPERLY      TRAINED    PERSONNEL         IN
               ACCORDANCE WITH CGA PAMPHLETS P.1.C6, G-
               6.8, &    AV-7.2  AVAILABLE    FROM     THE
               COMPRESSED GAS ASSOCIATION, 4221 WALNEY
               ROAD 5TH FLOOR, CHANTILLY, VIRGINIA 20151.

             • DO NOT OVER PRESSURIZE….


       Similarly, the owner’s manual for the Alpha Black Elite Paintball Marker

provided “SAFETY TIPS to ensure that your air or CO2 cylinder is safe for play”:


             • Improper use, filing, storage, or disposal of air or CO2
               cylinder may result in property damage, serious personal
               injury or death.

             • All air or CO2 cylinders must be filled only by properly
               trained personnel.

             • Do not overfill a cylinder! Never exceed the air or CO2
               cylinder’s capacity.


See Alpha Black Elite Owner’s Manual at p. 14, attached hereto as Exhibit “G.”

       From late 2014 until February 2015, Mr. Bates and his son, Zen Bates, would play

paintball with a group of friends on the weekends at the property of Michael and Star

Shipley. See Deposition of Michael Shipley (“Shipley Dep.”) at 73:14-74:14, attached

hereto as Exhibit “H.” Initially, Mr. Bates and other members of the paintball playing

group would have their CO2 cylinders refilled at a Dick’s store. See Shipley Dep. at

35:8-36:4. However, due to the cost, inconvenience and other factors associated with

traveling to Dick’s, the group decided to rent their own bulk CO2 tank, which they stored

in the garage of the Shipley home. See id.; Deposition of Shane Zollo (“Zollo Dep.”) at

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34:12-37:25, attached hereto as Exhibit “I.” Other than possibly watching videos on

YouTube, Mr. Bates received no training on how to fill the 9 ounce cylinder.              See

Shipley Dep. at 31:14-33:3. There is no indication that whatever YouTube videos Mr.

Bates may or may not have seen consisted of training in accordance with any CGA

pamphlets. See Shipley Dep. at 135:24-137:10; Zollo Dep. at 76:6-77:5.

       On February 1, 2015, after playing paintball on the property of Michael and Star

Shipley, Mr. Bates filled the 9 ounce cylinder in the garage of Michael and Star Shipley.

See Plaintiff’s Response to Defendant Tippmann Sports, LLC’s First Set of

Interrogatories to Plaintiff (“Plaintiff’s Verified Interrogatory Responses”) at ¶¶ 7, 8 &

9(b), attached hereto as Exhibit “J.” The filling by Mr. Bates on February 1, 2015 was

the last time the cylinder was filled prior to the rupture. See id. Plaintiff’s lone liability

expert agreed, the cylinder was filled above its capacity (i.e. it was overfilled) the last

time it was filled prior to the rupture. See Deposition of Harri Kytomaa (“Kytomaa

Dep.”) at 123:20-124:2, attached hereto as Exhibit “K.” Plaintiff’s expert opined that the

cylinder was filled between 11 and 13 ounces. See id. at 166:12-167:8.

       During the evening of February 2, 2015, Mr. Bates was wrapping camouflage tape

on the 9 ounce cylinder when the cylinder ruptured, which caused his death. See Doc. 15

at ¶ 16. Plaintiff’s lone liability expert agreed that the cylinder would not have ruptured

if the cylinder had not been overfilled. See Kytomaa Dep. at 127:10-129:7.

       On or about December 2, 2016, Plaintiff, Hilda Bates, as Administrator of the

Estate of Neman T. Bates (“Plaintiff”) filed a complaint against Tippmann and Dick’s.

(Doc. 1-1). Those defendants removed the lawsuit to this Court. (Doc. 1). With regards


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to Dick’s, Plaintiff alleged Dick’s was liable for negligence due to Dick’s alleged “failure

to safely fill” the 9 ounce cylinder. (Doc. 1-1 at ¶ 43-47).

       On January 12, 2017, Plaintiff filed the First Amended Complaint. (Doc. 15).

Again, with respect to Dick’s, Plaintiff alleged it was liable for negligence due to its

alleged “failure to safely fill” the 9 ounce cylinder. (Doc. 15 at ¶ 44-48). The First

Amended Complaint, among other things, added Gayston as a defendant. (Doc. 15).

Plaintiff alleged that Gayston was liable for the negligent design, manufacture and

warnings. (Doc. 15 at ¶¶ 21-35).      Additionally, Plaintiff alleged Gayston breached the

implied warranties for merchantability and fitness for a particular purpose. (Doc. 15 at ¶¶

36-43). In response, Gayston asserted, among other things, the affirmative defense of

contributory negligence. (Doc. 23).

       On June 13, 2017, Gayston filed a Third-Party Complaint against BXD, which

alleged BXD was responsible for any damages obtained by Plaintiff. (Doc. 30). In

response, BXD alleged Mr. Bates was contributorily negligent. (Doc. 40).

                               QUESTION PRESENTED

       1.     Does the contributory negligence of Mr. Bates preclude Plaintiff’s claims

against defendants and BXD?

                                       ARGUMENT

       A.     Mr. Bates’ Contributory Negligence Precludes Claims Against BXD.

       If Plaintiff’s claims against Gayston are precluded by N.C. Gen. Stat. § 99B-4

and/or the common law concept of contributory negligence, no claims against BXD

survive. See Scott v. PPG Indus., 920 F.2d 927 (4th Cir. 1990) (“[i]t is manifest from the


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language of [Rule 14(a)] that the third-party claim must be dependent on or related to the

initial plaintiff’s claim against the defendant…”); Rhodes, Inc. v. Morrow, 1997 U.S.

Dist. LEXIS 15970 at * 6 (M.D.N.C. 1997) (“[a] fundamental princip[le] underlying Rule

14 is that the third-party defendant’s liability to the third-party plaintiff must be

derivative of or secondary to the third-party plaintiff’s liability to the plaintiff.”). Thus,

as Mr. Bates was contributorily negligent, the defendants are entitled to summary

judgment on Plaintiff’s claims against them. Therefore, BXD is entitled to summary

judgment on Gayston’s derivative claims against it.

       B.     Mr. Bates Is Liable for Contributory Negligence as a Matter of Law.

       The facts on the issue of overfilling the 9 ounce cylinder are undisputed, thus

summary judgment is appropriate.         Plaintiff has admitted in verified responses to

interrogatories that the 9 ounce cylinder was last filled by Mr. Bates the evening before

the rupture. See Plaintiff’s Verified Interrogatory Responses at ¶¶ 7, 8 & 9(b). Plaintiff’s

lone liability expert conceded that the 9 ounce cylinder was overfilled by between 22%

and 44% before rupture. See Kytomaa Dep. at 123:20-124:2; 166:12-167:8. Moreover,

Plaintiff’s lone liability expert acknowledged that had the 9 ounce cylinder not been

overfilled, the rupture, which led to Mr. Bates’ death, would not have occurred. See

Kytomaa Dep. at 127:10-129:7. Put simply, it is undisputed that Mr. Bates overfilled the

cylinder, which was at least one of the proximate causes of the rupture of the cylinder

and, ultimately, his death.

       Clearly, Mr. Bates’ actions constitute contributory negligence.         As an initial

matter, Plaintiff, by way of the allegation of negligence against Dick’s in the Complaint


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and First Amended Complaint, virtually admits that the failure to safely fill the 9 ounce

cylinder renders one liable for negligence. See Doc. 1-1 at ¶¶ 43-47 & Doc. 15 at ¶¶ 44-

48. Thus, Plaintiff should be estopped from disputing whether Mr. Bates was negligent

when he failed to safely fill the 9 ounce cylinder. See Lowery v. Stovall, 92 F.3d 219,

223 (4th Cir. 1996); John S. Clark Co. v. Fabbert & Frieden, P.C., 65 F.3d 26, 28-29 (4th

Cir. 1995); Gore v. Myrtle/Mueller, 362 N.C. 27, 33, 653 S.E.2d 400, 405 (2007) (in

order to protect the essential integrity of the judicial process, the doctrine of estoppel

precludes a party from adopting a position that is inconsistent with a stance taken in

litigation).

       Moreover, even if Plaintiff’s position in the pleadings is not sufficient, North

Carolina common law and statutory law make clear that Plaintiff is barred from recovery

in this case. As a matter of common law, Mr. Bates is liable for contributory negligence

based on his act of overfilling the cylinder. See Price v. Miller, 271 N.C. 690, 696 157

S.E.2d 347, 351 (1967) (contributory negligence as a matter of law exists when a

plaintiff’s negligence is “one of the proximate causes” of the injury); U.S. Industries, Inc.

v. Tharpe, 47 N.C. App. 754, 762, 268 S.E.2d 824, 829 (1980) (a plaintiff is barred from

recovery when plaintiff’s own negligence contributed to “at least one of the proximate

causes” of the incident); Culler v. Hamlett, 148 N.C. App. 372, 377, 559 S.E.2d 195, 199

(2002) (Court held plaintiff was contributorily negligent as a matter of law when the

plaintiff’s own negligence was “at least one proximate cause” of the plaintiff’s injuries).




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       Further, the statutory scheme in North Carolina precludes recovery by Plaintiff.

N.C. Gen. Stat. § 99B-4 provides that no manufacturer or seller shall be held liable in any

product liability action if:


               (1)     The use of the product giving rise to the product
               liability action was contrary to any express and adequate
               instructions or warnings delivered with, appearing on, or
               attached to the product or on its original container or
               wrapping, if the user knew or with the exercise of reasonable
               and diligent care should have known of such instructions or
               warnings; or

               …

               (3)    The claimant failed to exercise reasonable care under
               the circumstances in the use of the product, and such failure
               was a proximate cause of the occurrence that caused the
               injury or damaged complained of.



       N.C. Gen. Stat. § 99B-4(1) and (3) is the statutory codification of contributory

negligence. See Nicholson v. American Safety Util. Corp., 346 N.C. 767, 772, 488 S.E.2d

240, 243 (1997); Champs Convenience Stores v. United Chem. Co., 329 N.C. 446, 453-

454, 406 S.E.2d 856, 860 (1991). “In a product liability action founded on negligence,

‘there is no doubt that…[plaintiff’s] contributory negligence will bar his recover to the

same extent as in any other negligence case.’” Nicholson, 346 N.C. at 773, 488 S.E.2d at

244 quoting Smith v. Fiber Controls Corp., 300 N.C. 669, 672, 268 S.E.2d 504, 506

(1980).    Additionally, “contributory negligence also bars a products liability claim

against a manufacturer or seller based on breach of implied warranty.”           Id. citing

Gillespie v. American Motors Corp., 69 N.C. App. 531, 317 S.E.2d 32 (1984).


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       Thus, N.C. Gen. Stat. § 99B-4 and/or the common law doctrine of contributory

negligence preclude Plaintiff from prevailing on the claims asserted against Gayston

(and, by extension, BXD) for negligent design, manufacture and warnings, as well as

claims for breach of the implied warranties for merchantability and fitness for a particular

purpose.

       In Lee v. Crest Chemical Co., 583 F. Supp. 131 (M.D.N.C. 1984), the defendant

was granted summary judgment in a products liability action complaining of negligent

warnings and breaches of implied warranties. The case involved a rust stain remover.

The instructions on the label provided that the user should “wear rubber gloves” and

“avoid contact with skin” as the cleaner “will cause burns that are not immediately

painful.” Id. at 132-133. The plaintiff suffered severe injuries after getting a few drops

of the rust stain remover on her hands because she was not wearing rubber gloves. Id. at

133.

       The defendant asserted that the plaintiff’s failure to wear rubber gloves was a

compete defense under N.C. Gen. Stat. § 99B-4(1). It was undisputed that the plaintiff

would not have suffered chemical burns “but for her failure to follow instructions

concerning a safety precaution.” Id. at 135 (emphasis in original). The Court noted that

the plaintiff’s failure to following the instructions “was the proximate cause of the very

injury she suffered. If followed, the instruction was adequate to protect injury to [the

plaintiff’s] hand.” Id.

       Similarly, here, Mr. Bates’ failure to follow the instructions concerning safety

precautions on the 9 ounce cylinder was the proximate cause of Mr. Bates’ death.


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Plaintiff’s own expert admits that but for Mr. Bates overfilling the 9 ounce cylinder, the

cylinder would not have ruptured. See Kytomaa Dep. at 127:10-129:7. The 9 ounce

cylinder    and   the   owner’s    manual   for   the   marker    clearly   provide    that

“improper…filing…of this cylinder may result in death….” The 9 ounce cylinder and

the owner’s manual for the marker clearly provide that it must be filled “only by properly

trained personnel.” Finally, the 9 ounce cylinder clearly provides that the user should not

“over pressurize” the cylinder and the owner’s manual for the marker clearly provides

that the owner should not “overfill a cylinder!” and should “[n]ever exceed the air or CO2

cylinder’s capacity.” If Mr. Bates had followed those instructions and not improperly

filled (i.e. overfilled or over pressurized) the cylinder, the rupture would not have

occurred. Thus, defendants are entitled to summary judgment under N.C. Gen. Stat. §

99B-4(1).

       For the same reasons noted above, defendants are entitled to summary judgment

under N.C. Gen. Stat. § 99B-4(3) as Mr. Bates failed to exercise reasonable care under

the circumstances when he overfilled the 9 ounce cylinder.

                                    CONCLUSION

       For the reasons stated herein, BXD respectfully requests that the Court grant

summary judgment on all of Plaintiff’s claims against Gayston, and, by extension, all of

the claims asserted against BXD.




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     This the 30th day of October, 2018.



                                       __/s/ Jeffrey B. Kuykendal___________
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                           CERTIFICATE OF SERVICE

      I hereby certify that on the above date I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to

the following:


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